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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,                        Case No. 1:12-cr-00155-BLW

                      Plaintiff,
                                                  ORDER CONTINUING TRIAL
        v.                                        AND TRIAL READINESS
                                                  CONFERENCE
 JIM ALLEN LOVELAND, et al.,

                      Defendants.


       Defendant Loveland was recently arraigned, and a trial date different from that of

his co-defendants was set by the Court. Under the Speedy Trial Act, 18 U.S.C. §

3161(h)(6), excludable time exists for “a reasonable period of delay when the defendant is

joined for trial with a co-defendant as to whom the time for trial has not run and no

motion for severance has been granted.” No motion for severance has been filed in this

case. Accordingly, pursuant to 18 U.S.C. § 3161(h)(6), the Court will move Defendant

Loveland’s trial to the same date as his co-defendants. The Court finds that the excludable

time found for the other defendants applies to the co-defendant because he is joined for

trial with them. Thus, Defendant Loveland will have trial moved to October 29, 2012.

Accordingly,

       NOW THEREFORE IT IS HEREBY ORDERED that the present trial date for

Defendant Loveland be VACATED, and that a new trial be set for October 29, 2012 at

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1:30 p.m. in the U.S. Courthouse in Boise, Idaho.

      IT IS FURTHER ORDERED that the period of time between the prior trial date

and the new trial date be deemed EXCLUDABLE TIME under the Speedy Trial Act, 18

U.S.C. § 3161(h)(6) and (7)(A) & (B).

      IT IS FURTHER ORDERED that the current trial readiness conference for

Defendant Sanchez be VACATED, and that a new trial readiness conference be

conducted by telephone on October 17, 2012 at 4:00 p.m. The Government shall place

the call to (208) 334-9145 with opposing counsel on the line.



                                         DATED: August 27, 2012



                                         B. LYNN WINMILL
                                         Chief U.S. District Court Judge




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